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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 PHILIP R. MCHUGH,                                   )   Case No. 25-CV-01468
                                                     )
                               Movant,               )   Related to: Philip R. McHugh v. Fifth Third
                                                     )   Bancorp, et al., No. 1:21-cv-00238 (S.D.
 v.                                                  )   Ohio)
                                                     )
 RHR INTERNATIONAL, LTD.                             )   Judge Steven C. Seeger
                                                     )
                              Respondent.            )   Magistrate Judge Beth W. Jantz


                MOTION FOR LEAVE TO FILE EXHIBITS UNDER SEAL

       NOW COMES Movant Philip R. McHugh (“Plaintiff”), by and through his counsel,

Sabreena El-Amin of CTM Legal Group, and Peter A. Saba and Joshua M. Smith of SSP Law Co.,

L.P.A., and pursuant to Local Rule 26.2 respectfully moves this Court to grant leave to file certain

exhibits to his Motion to Compel Out of State Discovery under seal. In compliance with Local

Rules 26.2, movants have submitted the exhibits under seal for in camera review. For the reasons

articulated below, the exhibits should be filed under seal.

       1.      On February 12, 2025, Movant filed a Motion to Compel Out of State Discovery

 from Non-Party RHR International, Ltd..

       2.      In support of the motion is an Affidavit of Counsel Joshua M. Smith, Esq.,

 including Exhibits 1-13.

       3.      Exhibits 12 and 13 to the Motion are text messages that Defendants Fifth Third

 Bancorp, Fifth Third Bank, N.A. and Gregory Carmichael have designated as “Confidential –

 Attorney’s Eyes Only” pursuant to a Stipulated Protective Order (Doc. 16) in the underlying

 litigation McHugh v. Fifth Third Bancorp, et al., No. 1:21-cv-00238 currently pending in the

 United States District Court for the Southern District of Ohio.

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       4.      A true and accurate copy of the Stipulated Protective Order is attached hereto as

 Exhibit 1.

       5.      Upon information and belief, Exhibits 12 and 13 contain sensitive information

 related to parties and non-parties to this action, including Defendant Gregory D. Carmichael and

 Robert Shaffer.

       6.      Movant requests leave for these Exhibits to be filed under seal to protect such

privacy interests.

       7.      There is no public interest in publicly filing such private information.

       8.      No party is prejudiced by the requested relief.

       WHEREFORE, Movant respectfully requests that the Court enter an Order granting leave

to file the select exhibits to the Motion to Compel under seal pursuant to Local Rule 26.2 and for

such other relief as the Court deems appropriate.



Dated: February 14, 2025

                                              Respectfully submitted,


                                                     /s/ Sabreena El-Amin_______

                                                     Sabreena El-Amin
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                                                     /s/ Peter A. Saba_____
                                                     Peter A. Saba, Esq. (pro hac vice
                                                     application pending)
                                                     Joshua M. Smith, Esq. (pro hac vice
                                                     application pending)
                                                     STAGNARO, SABA
                                                     & PATTERSON CO., L.P.A.

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on February 14, 2025 the foregoing Motion was

served via the Court’s ECF/PACER system to all counsel of record in this matter.




                                                   /s/ Sabreena El-Amin




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